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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
v. Case No. 1:21-er-292-RCL
CHIRSTOPHER WORRELL,

Defendant.

ORDER
On October 8, 2021, the Court ordered the D.C. Jail and D.C. Department of Corrections
(“DOC”) to provide forthwith “the actual narrative specialist notes from orthopedic hand specialist
Dr. Wilson, who evaluated Mr. Worrell and is recommending surgical repair.” ECF No. 102. The
Court also ordered the D.C. Jail and DOC to resubmit forthwith the Electronic Prisoner Medical
Request for Mr. Worrell with all appropriate and requested information. /d. Today, the Court
received an email communication from Acting U.S. Marshal Lamont Ruffin stating that DOC sent
to the U.S. Marshals Service (“USMS”) the following email on October 8, 2021:
Good afternoon Marshal Haywood,
Please be advice that I spoke with the medical team. Resident
Worrell is scheduled for a re-evaluation by the hospital surgeon next
week on October 14, 2021. DOCs [sic] medical team has requested
from the surgeon’s office that Mr. Worrell return to the facility with
the appropriate medical note. DOC will provide the documentation
following Mr. Worrell’s return from the medical appointment.
DOC provided no additional information to the USMS.
It is clear that neither the Warden of the D.C. Jail nor the Director of DOC have complied

with the Court’s Order from October 8, 2021. Nor have they sought reconsideration of the Order.

Accordingly, it is
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ORDERED that D.C. Jail Warden Wanda Patten and DOC Director Quincy Booth are to
appear and show cause why they should not be held in civil contempt at a hearing at 10:00 A.M.
on October 13, 2021

ORDERED that the United States ensure that a copy of this order is provided
FORTHWITH to Warden Wanda Patten and DOC Director Quincy Booth.

IT IS SO ORDERED.

 

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Date: (e |; 2/2./ Royce C. Lamberth

United States District Judge
